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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:23-cv-01463-RMR-SKC

   AMERICAN MUCKRAKERS PAC, INC., a foreign entity, and
   DAVID B. WHEELER, an individual, North Carolina resident,

           Plaintiffs,

   v.

   LAUREN OPAL BOEBERT, an individual and Colorado resident, and
   JOHN DOES (1-25),

           Defendants.


         REPRESENTATIVE LAUREN BOEBERT’S MOTION TO DISMISS UNDER
           F.R.C.P. 12(b)(6) AND/OR SPECIAL MOTION TO DISMISS UNDER
                         COLORADO’S ANTI-SLAPP STATUTE


        This case presents the question whether the First Amendment prohibits claims of defamation

   and related torts premised on a candidate for public office responding to political attacks from her

   opponents during a re-election campaign. In the lead up to the 2022 election for Colorado’s third

   congressional district, Plaintiffs American Muckrakers PAC and its founder David Wheeler pub-

   lished a series of widely shared articles that claimed Defendant Representative Lauren Boebert was

   a prostitute who got her start in politics by being a paid escort for the Koch brothers. Representa-

   tive Boebert responded in a series of public statements, explaining the fact that these allegations

   were baseless political attacks: that Mr. Wheeler was a “political hack,” a “left-wing political op-

   erative,” a “[r]adical Democrat,” and that his accusations were “completely baseless,” “com-

   pletely false,” and constituted “defamation.” Hoping to revive those accusations for the 2024

   election cycle, Mr. Wheeler and American Muckrakers filed this suit for defamation and related


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   torts premised on Representative Boebert’s 2022 defense of herself and her campaign. Even look-

   ing past the fact Representative Boebert’s statements were reasonable and truthful defenses

   against Muckrakers and Mr. Wheeler’s extraordinary attacks, the extent of this Court’s involve-

   ment with Mr. Wheeler’s campaign should start and end on the face of the complaint, dismissing

   the suit on First Amendment grounds consistently affirmed by courts. The First Amendment pro-

   vides near-total protection for statements like Representative Boebert’s made during an electoral

   campaign, and Wheeler’s complaint fails to state a claim and must be dismissed. 1

                                           BACKGROUND

       David Wheeler formed American Muckrakers PAC, Inc. in part to defeat Representative Boe-

   bert in her 2022 re-election campaign for Colorado’s third congressional district. “About” Page,

   americanmuckrakers.com/about (“We worked hard to fire Lauren Boebert but came up 546 votes

   short in 2022.”). Plaintiffs’ primary strategy to do so was to trade in sexist tropes, rooted in our

   Country’s worst history of misogyny. See Abigail Weinberg, Stop Spreading Those Deeply Misogynis-

   tic Rumors About Lauren Boebert, Mother Jones ( June 15, 2022), available at bit.ly/47lJkKr. When

   Representative Boebert defended herself from these crude attacks, stating she had never engaged

   in the indecent and illegal activities that Mr. Wheeler alleged, Mr. Wheeler filed this defamation

   suit to silence her and to raise money. See Defamation Lawsuit Information, https://www.ameri-

   canmuckrakers.com/defamation (requesting donations to support suit and in the linked press re-

   lease using the misogynistic cliché that Rep. Boebert is “loud-mouthed” and thus should not serve

   in Congress).


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       Certiﬁcate of conferral: Pursuant to Civil Practice Standard 7.1B(b), the parties have con-
   ferred in good faith regarding this motion over email and in a 45-minute phone call on August 18,
   2023. Plaintiﬀs oppose the relief requested.

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       Mr. Wheeler first accused Representative Boebert of being a prostitute. On June 14, 2022,

   Muckrakers and Wheeler published a press release, “Rep. Lauren Boebert was an unlicensed paid

   escort with sugardaddymeet.com.” See Compl. Exh. C. (June 14, 2022 Press Release). 2 Mr.

   Wheeler wrote, “[t]he American Muckrakers PAC, Inc., today announced their team and volun-

   teers have uncovered that Lauren Boebert was an unlicensed, paid escort and met clients through

   SugarDaddyMeet.com.” Id. Mr. Wheeler stated that “she was bankrupt at the time and looking

   for ‘side income,’” describing “her work as ‘pay to play.’” Id. (scare quotes in original). “She

   was,” Wheeler said, “paid to ‘escort’ wealthy men.” Id. (scare quotes in original). Indeed,

   Wheeler went so far as to say that Representative Boebert’s start in politics was the direct result of

   her prostitution: “Boebert was hired by a wealthy male client in Aspen, Colorado, who was a Koch

   family member. Boebert’s rich client subsequently introduced her to U.S. Senator Ted Cruz (R-

   TX) in Aspen.” Id. At that meeting, Wheeler stated, without any substantiation, Cruz allegedly

   encouraged her to run for Congress. Id.

       Mr. Wheeler next accused Representative Boebert of having had two abortions as a result of

   her work as a paid “escort.” In the same “sugardaddymeet.com” press release, Wheeler wrote

   that “Boebert had an abortion at the Planned Parenthood Clinic in Glenwood Springs, Colorado,

   due to her work” as a prostitute. Id. at 1. The “sugardaddymeet.com” press release also




   2
       Plaintiﬀs have ﬁled these exhibits as conventionally submitted materially and have not ﬁled
   them electronically or provided a copy to Defendant’s counsel. However, the exhibits are available
   on www.americanmuckrakers.com (follow “Defamation Lawsuit” heading hyperlink; then click
   “Download Exhibits”), from which Defendant obtained them. The Court can consider these ex-
   hibits under F.R.C.P. 12(b)(6) because they are incorporated by Plaintiﬀs’ Complaint. The Court
   can also consider these, and other extrinsic evidence, under Colorado’s Anti-SLAPP statute as ex-
   plained below.
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   reproduced a text message that says Representative Boebert had “another [abortion] in Grand

   Junction.” Id. at 3.

       Wheeler attached to the sugardaddymeet.com press release redacted text messages which pur-

   ported to “corroborate” his “reporting.” These text messages included further accusations that

   Representative Boebert and her ex-husband “had a [m]eth drug problem”; that “[s]he was strip-

   ping at the time also”; and that her husband “was dealing [drugs].” Compl. Exh. C at 3-4. Those

   text messages attached three photos that Wheeler said were from Rep. Boebert’s sugardaddy-

   meet.com profile. Compl. Exh. C at 4-6. Yet the photos, which appear to be of two different

   women, are obviously not Rep. Boebert.

       Wheeler’s salacious articles were widely distributed and shared. The day after he published his

   press release about Boebert being a prostitute and having abortions, “Lauren Boebert” and “Ted

   Cruz” were the third and fourth most tweeted terms on Twitter. See Def.’s Exh. 1, Screenshot of

   archive.twitter-trending.com for June 15, 2022.

       In response to Wheeler’s vulgar attacks, Boebert defended herself. She first responded

   through her counsel in a letter (the “Anderson Letter”). See Def.’s Exh. 2; see also Compl.

   ¶¶ 41.c, 56, 69 (quoting Anderson Letter). The Anderson Letter stated that “[b]etween June 9,

   2022, and June 14, 2022, Muckrakers published a series of false and defamatory statements about

   Lauren Boebert.” Id. at 1. The Letter continued, “with even a 5-minute web search, Muckrakers

   [would have] kn[own] those statements to be false.” Id. at 3. Muckrakers’ statements, the Letter

   concluded, were “sloppy, reckless, and wildly irresponsible.” Id.

       Similarly, in a series of interviews Boebert stated that Wheeler’s statements were part of a co-

   ordinated partisan effort to smear her with misogynistic slurs. Those statements, which are



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   included in Plaintiffs’ Complaint at paragraphs 18, 34, 41, 42, 46, 58, 60, 61, and 69, are not action-

   able defamation as a matter of law:

                            Statement of Rep. Boebert                                Defamation?
    (1)   “There is no evidence to back any of their claims. I’m taking        No. Made in defense;
          legal action against this guy, David Wheeler, and Muckrakers,        political rhetoric; not
          and we’re moving forward with a lawsuit.” Compl. ¶¶ 18.a,            made with reckless dis-
          34.1.                                                                regard of the truth; in-
                                                                               cludes statement of
                                                                               opinion.
    (2)   “This man was told by his source that one of his allegations was     No. Made in defense;
          made-up before he released it. He knew it was false and he           political rhetoric; not
          moved forward anyway…. And he changed his story later.”              made with reckless dis-
          ¶¶ 18.b, 34.2.                                                       regard of the truth.
    (3)   “Radical Democrats want me out of office, and they will lie and No. Made in defense;
          break the law to try to beat me.” Compl. ¶¶ 18.c, 34.4.         political rhetoric; in-
                                                                          cludes statement of
                                                                          opinion.
    (4)   “We’re going to make sure this political hack never has the op- No. Made in defense;
          portunity to do this to anyone else again.” Compl. ¶ 34.3       political rhetoric; in-
                                                                          cludes statement of
                                                                          opinion.
    (5)   “This group’s vile conduct demonstrates why people are fed No. Made in defense;
          up with politics.” Compl. ¶ 41.a.                          political rhetoric; in-
                                                                     cludes statement of
                                                                     opinion.
    (6)   “This political committee, funded by far-left Democrat donors        No. Made in defense;
          and run by two left-wing political operatives, published pages       political rhetoric; not
          of false statements knowing they were completely fabricated.”        made with reckless dis-
          Compl. ¶ 41.b.                                                       regard of the truth.
    (7)   “The law on this type of defamation is clear and this conduct No. Statement of opin-
          will be subject to civil and criminal penalties.” Compl. ¶ 41.c. ion; made in defense.
    (8)   “This is completely baseless, and these allegations are com-         No. Made in defense;
          pletely false. For them to go after me in this manner is abso-       political rhetoric; not
          lutely sexist and disgusting, and this is what people hate about     made with reckless dis-
          politics. They hate the lies and they hate the personal destruc-     regard of the truth.
          tion. This is very damaging, and that is why I’m going after this
          guy personally and his group with the full force of the law. I am
          not holding back, and I want to make sure that this never hap-
          pens to anyone else again.” Compl. ¶ 42a.

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                             Statement of Rep. Boebert                                   Defamation?
    (9)    “Right, Tomi. These are all lies and isn’t it interesting that this     No. Made in defense;
           is coming from the party of believe all women? I’m not the only         political rhetoric; not
           one this has happened to. We know they have lied about you as           made with reckless dis-
           you have stated. They lied about Sarah Palin and nearly every           regard of the truth.
           conservative fighter. Heck, even Mother Jones, a far-left lean-
           ing publication called these sexist and disgusting claims. I’ve
           never had two abortions. I’ve never been an escort. I’ve never
           been a drug addict as they claim or stripper or whatever else
           they want to add to that and over the next few days verifiable
           facts will be released that proves what I said that proves that
           these uh allegations are absolutely false. But here’s what’s so
           sad Tomi. The damage has been done. These allegations
           trended number one on Twitter. When Mr. Wheeler and this
           PAC released some of their allegations they knew them to be
           false. Their source told them in a text, and I quote, this story is
           made up. When they said I was some woman in lingerie in a bed
           that photo was proven not to be me and these sick hacks still
           continue to publish the photo and double down saying that it
           was me so I’m not taking this quietly and won’t allow this illegal
           behavior to continue to happen against myself and I certainly
           never want to anyone else and that’s why I’m moving forward
           with a lawsuit to sue this PAC. They lied about me and they
           knew it was lies and that is absolutely illegal, it’s like a bully on
           a playground uh when they can’t win they punch you in the face
           but uh I’m fighting back.” Compl. ¶ 46.
    (10) “We have irrefutable evidence that each one of these state- No. Made in defense;
         ments is patently false.” Compl. ¶ 56.                      political rhetoric; not
                                                                     made with reckless dis-
                                                                     regard of the truth.
    (11)   “Partisan organizations putting out blatantly false and disgust-        No. Made in defense;
           ing accusations won’t stop me from advancing freedom and                political rhetoric; not
           conservative values, this group’s vile conduct demonstrates             made with reckless dis-
           why people are fed up with politics. I am not going to stand by         regard of the truth.
           and pretend this is normal behavior. This political committee,
           funded by far-left Democrat donors and run by two left-wing
           political operatives, published pages of false statements know-
           ing they were completely fabricated. The law on this type of
           defamation is clear and this conduct will be subject to civil and
           criminal penalties. Attached is a letter from my attorney intro-
           ducing our response to these lies.” Compl. ¶ 60.




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                           Statement of Rep. Boebert                          Defamation?
    (12) “When Mr. Wheeler and this PAC released some of their alle- No. Made in defense;
         gations, they knew them to be false. Their source told them in political rhetoric; not
         a text, and I quote, this story is made up.” Compl. ¶ 61       made with reckless dis-
                                                                        regard of the truth.
    (13) “Muckrakers’ sloppy, reckless, and wildly irresponsible ac-          No. Made in defense;
         tions have created substantial legal liability for Muckrakers, Da-   political rhetoric; not
         vid Wheeler in his personal capacity, and each donor to the or-      made with reckless dis-
         ganization who chose to fund the effort knowing it would result      regard of the truth.
         in defamation.” Compl. ¶ 69.

   Statements (10) and (13) were not made by Boebert herself, but in the Anderson Letter.

      And yet, even if on their face the statements cited by Mr. Wheeler could give rise to a claim of

   defamation, they are true and thus not actionable on the merits under the First Amendment. Rep.

   Boebert was pregnant with her first son when Mr. Wheeler alleged she had her first abortion, and

   never had any other abortion. Def’s Exhibit 3, Declaration of Representative Boebert (“Boebert

   Decl.”) at ¶¶ 5, 6, 9. Wheeler’s only evidence that she had such an abortion are unverifiable sub-

   Tweets and similarly unverifiable text messages. E.g., Compl. Exhs. D9-D15. The picture of the

   “escort” Wheeler published on his website is plainly not Boebert. And apart from subtweets from

   unverifiable accounts, Wheeler has produced no evidence that Representative Boebert has used

   illegal drugs, e.g., Compl. Exhs. D8, D16, as she has not, Bobert Decl. at ¶ 11. Indeed, Wheeler’s

   key source admitted to him that the source’s accusations against Rep. Boebert were “[t]otally

   made up.” Compl. Exh. N2 at 2.

      Mr. Wheeler did not respond to Rep. Boebert’s denial with his own counter-speech—the rem-

   edy the First Amendment provides him. See United States v. Alvarez, 567 U.S. 709, 727 (2012)

   (“The remedy for speech that is false is speech that is true. This is the ordinary course in a free

   society.”). Rather, Mr. Wheeler responded by filing this suit for defamation, the aim of which is to



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   suppress political activity—a judicial remedy the First Amendment prohibits. The apparent sec-

   ondary goal of his suit is to fundraise. On the “Defamation Lawsuit” page of American Muckrakers

   website, Wheeler has included a “Donate” button. Just above that is a link to his press release

   regarding the suit, in which he doubles down on his misogynistic rhetoric: “[t]his lawsuit is about

   holding a loud-mouthed, do-nothing for Colorado, hypocritical politician accountable for her ac-

   tions.” Defamation Lawsuit, https://www.americanmuckrakers.com/defamation (last visited Au-

   gust 21, 2023); see also Def.’s Exh. 4 at 1 (copy of press release regarding lawsuit).

                                        LEGAL STANDARDS

      1. Motions to dismiss under Rule 12(b)(6)

      Under Federal Rule of Civil Procedure 12(b)(6), a court “must accept all the well-pleaded al-

   legations of the complaint as true and must construe them in the light most favorable to the plain-

   tiff.” Alvarado v. KOB-TV, L.L.C., 493 F.3d 1210, 1215 (10th Cir. 2007) (internal quotation marks

   omitted). “The court’s function on a Rule 12(b)(6) motion is not to weigh potential evidence that

   the parties might present at trial, but to assess whether the plaintiff’s complaint alone is legally

   sufficient to state a claim for which relief may be granted.” Swoboda v. Dubach, 992 F.2d 286, 290

   (10th Cir. 1993) (internal citation omitted). The court typically must not look outside the pleadings

   when deciding a motion to dismiss. Gee v. Pacheco, 627 F.3d 1178, 1186 (10th Cir. 2010). But there

   are three exceptions to this general rule: “(1) documents that the complaint incorporates by refer-

   ence; (2) documents referred to in the complaint if the documents are central to the plaintiff’s

   claim and the parties do not dispute the documents’ authenticity; and (3) matters of which a court

   may take judicial notice.” Id (internal citations omitted).




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      2. Special motions to dismiss pursuant to C.R.S. § 13-20-1101(3)

      Like many states, Colorado has recently enacted an “Anti-SLAPP” statute, the purpose of

   which is to deter lawsuits, like this one, whose aim is to chill First Amendment activity, and to

   codify and enhance the protections articulated by Protect Our Mountain Environment, Inc. v. District

   Court In & For Jefferson County., 677 P.2d 1361 (Colo. 1984). Colorado’s Anti-SLAPP statute does

   so primarily by authorizing a defendant to file a “special motion to dismiss,” C.R.S. § 13-20-

   1101(3)(a), which gives the defendant an early opportunity to dismiss claims that are unlikely to be

   successful at a trial in the normal course.

      An Anti-SLAPP special motion to dismiss is subject to a unique standard: a court must dismiss

   a complaint “unless the court determines that the plaintiff has established that there is a reasonable

   likelihood that the plaintiff will prevail on the claim.” Id. § 13-20-1101(3)(a). In ruling on the mo-

   tion, a Court must consider “supporting and opposing affidavits stating the facts upon which the

   liability or defense is based,” id. at § 13-20-1101(3)(b), and hold an evidentiary hearing within

   twenty-eight days of the date the motion is filed, id. at § 13-20-1101(5). A defendant prevailing on

   a special motion to dismiss is “entitled to recover [her] attorney fees and costs.” Id. at § 13-20-

   1101(4)(a). Discovery is automatically stayed by filing a special motion to dismiss. Id. at § 13-20-

   1101(6). And an order granting or denying a special motion to dismiss is immediately appealable.

   Id. at § 13-20-1101(7).

      Every decision to have considered the question has ruled that Colorado’s Anti-SLAPP statute

   applies in federal court. See Moreau v. United States Olympic & Paralympic Comm., 2022 WL

   17081329, at *4 (D. Colo. 2022) (Sweeney, J.); see also Coomer v. Make Your Life Epic LLC, 2023

   WL 2390711, at *4 (D. Colo. 2023) (Martinez, J.) (“The Court has carefully considered Judge



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  Sweeney’s persuasive analysis [in Moreau] and reasoning on this issue and has decided that it, too,

  will apply Colorado’s anti-SLAPP statute in this action.”). Moreau explains that although some of

  the provisions of Colorado’s Anti-SLAPP law might conflict with the Federal Rules (e.g., the re-

  quirement of an evidentiary hearing), the statute’s burden-shifting framework for analyzing special

  motions to dismiss “exist side by side” the Federal Rules of Civil Procedure and thus should be

  applied in federal court. Moreau, 2022 WL 17081329, at *4.

     To avoid any conflict with the Federal Rules, special motions to dismiss mounting a legal chal-

  lenge should be analyzed under Rule 12(b)(6) standards, whereas motions to dismiss mounting a

  factual challenge should be analyzed under Rule 56 standards. Id. at *7. Moreau then requires ap-

  plication of the Anti-SLAPP statute’s two-step burden-shifting framework. At step one, the de-

  fendant bears the burden to show that the underlying conduct arises from an act “in furtherance

  of the defendant’s right of petition or free speech in connection with a public issue.” Id. (cleaned

  up) (citing C.R.S. § 13-20-1101(3)(a)). “The burden the anti-SLAPP statute’s first step imposes is

  not particularly demanding.” Id. (cleaned up). At step two, the burden shifts to the plaintiff to

  show a “reasonable likelihood,” it will succeed on its claim or claims. Id. at *8.

                                            ARGUMENT

     Plaintiffs’ Complaint must be dismissed under Rule 12(b)(6) and/or under Colorado’s Anti-

  SLAPP statute, either one of which is an adequate independent basis to resolve this suit. Plaintiffs

  have alleged no statements made with actual malice. Yet even if they had, a defense against an

  attach during a reelection campaign cannot give rise to liability under the First Amendment. Plain-

  tiffs have failed to plead special damages. And apart from unverifiable anonymous sources, Plain-

  tiffs have no evidence supporting their crude attacks. Finally, this suit plainly implicates



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  Representative Boebert’s right of free speech and thus Colorado’s Anti-SLAPP statute. Thus, be-

  cause Plaintiffs both have failed to carry their pleading burden and are unlikely to succeed on the

  merits of their claims, the suit must be dismissed.

  1. Plaintiffs have failed to allege any actionable defamatory statements.

      1.1. Plaintiffs have failed to allege clear and convincing evidence of actual malice.

      The tort of defamation exists to rectify harm done by injurious falsehoods. McIntyre v. Jones,

  194 P.3d 519, 524 (Colo. App. 2008). Yet the “interest” the tort embodies “in protecting an indi-

  vidual’s reputation” is generally outweighed by “society’s interest in encouraging and fostering

  vigorous public debate, an interest protected by the First Amendment to the United States Con-

  stitution and article II, section 10 of the Colorado Constitution.” Id. In a case like this one involving

  public figures and statements regarding a matter of public concern, 3 decisions beginning with New

  York Times v. Sullivan, 376 U.S. 254 (1964), and reaffirmed by the Supreme Court in the preceding

  months, see Counterman v. Colorado, 143 S. Ct. 2106, 2115 (2023), have heavily modified the law of

  defamation to ensure political discourse is not deterred by litigation.

      For example, rather than a preponderance-of-the-evidence standard, a plaintiff must prove fal-

  sity of the statements alleged by clear and convincing evidence. McIntyre, 194 P.3d at 524. Clear



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      American Muckrakers and Mr. Wheeler are public ﬁgures or, at a minimum, limited public ﬁg-
  ures. American Muckrakers and Wheeler have “voluntarily inject[ed themselves] . . . into a partic-
  ular public controversy,” Gertz v. Robert Welch, Inc., 418 U.S. 323, 351 (1974)—namely, the 2022
  and 2024 reelection campaigns of Representative Boebert. Similarly, the 2022 and 2024 reelection
  campaigns of Representative Boebert are plainly matters of public concern. McIntyre v. Jones, 194
  P.3d 519, 525 (Colo. App. 2008). (“[A] matter is of public concern whenever it embraces an issue
  about which information is needed or is appropriate, or when the public may reasonably be expected
  to have a legitimate interest in what is being published.” (internal quotation marks omitted)).




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  and convincing evidence is “evidence . . . which is unmistakable and free from serious or substan-

  tial doubt.” DiLeo v. Koltnow, 613 P.2d 318, 323 (Colo. 1980). Similarly, a plaintiff bears the burden

  to prove that the statements were made with “actual malice,” i.e. “actual knowledge that the state-

  ment is false or with reckless disregard for whether the statement is true.” McIntyre, 194 P.3d at

  524. Actual malice is a subjective standard, meaning a plaintiff must plead and prove that a defend-

  ant “harbored subjective doubt” her statements were false. Jankovic v. Int’l Crisis Grp., 822 F.3d

  576, 589 (D.C. Cir. 2016) (“[I]t is not enough to show that defendant should have known better;

  instead, the plaintiff must offer evidence that the defendant in fact harbored subjective doubt.”).

  Finally, the plaintiff must establish actual damages, even if the statements are defamatory per se.

  McIntyre, 194 P.3d at 524.

     The thrust of Plaintiffs’ complaint is that Representative Boebert defamed Plaintiffs when she

  stated that Plaintiffs’ accusations of her being an escort who used drugs and had had abortions were

  part of a partisan effort to unseat her were false. Compl. ¶¶ 18, 34, 41, 42, 46, 58, 60, 61, and 69.

  Plaintiffs’ statements were false, as explained fully below. But even accepting the Complaint’s al-

  legations at face value under Rule 12(b)(6), apart from conclusory statements, the Complaint fails

  to allege that Representative Boebert subjectively knew her statements to be false. To the contrary,

  the Complaint and its exhibits provide the basis for Representative Boebert’s statements—or at

  least provide the basis for a subjective belief in the truth of those statements. First, the Complaint

  attaches as Exhibit N2 a text message from Wheeler’s “source” that states the source’s story

  about Rep. Boebert were “totally made up.” Exhibit N2 at 2. Second, the pictures on which

  Wheeler based his stories, which are attached to the Complaint as Exhibit C at pp. 4-6, are plainly

  not Representative Boebert. Third, the remainder of Wheeler’s “sources” were anonymous text



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  messages and/or unverifiable subtweets, Exhibit D8, D16, the unverifiable nature of which is

  prima facie evidence that Wheeler’s attacks were made with actual malice and not based in fact. See

  St. Amant v. Thompson, 390 U.S. 727, 732 (1968) (statements based “on an unverified anonymous

  telephone call” is evidence of actual malice under New York Times v. Sullivan). These are precisely

  the facts cited by Representative Boebert in her statements that Wheeler’s attacks were untrue and

  defamatory. E.g., Compl. ¶ 46, 61. That Plaintiffs’ own complaint admits the shakiness of their

  own reporting and that Representative Boebert specifically cited the clear holes in the stories, un-

  dercuts any argument that she had a “high degree of awareness of probable falsity” or “entertained

  serious doubts as to the truth of” her statements. Harte-Hanks Commc’ns, Inc. v. Connaughton, 491

  U.S. 657, 667 (1989).

     1.2. Defending oneself against slanderous statements during a political campaign is not
          actionable defamation.

     The characterization of Mr. Wheeler’s attacks as “defamatory” is a statement of opinion, not

  capable of giving rise to a claim of defamation. “Under the First Amendment there is no such thing

  as a false idea. However pernicious an opinion may seem, we depend for its correction not on the

  conscience of judges and juries but on the competition of other ideas.” Gertz, 418 U.S. at 339-40.

  “An opinion [that] is unfounded” thus “reveals its lack of merit when the opinion-holder discloses

  the factual basis for the idea.” Redco Corp. v. CBS, Inc., 758 F.2d 970, 972 (3d Cir. 1985). “If the

  disclosed facts are true and the opinion is defamatory, a listener may choose to accept or reject it

  on the basis of an independent evaluation of the facts.” Id. This rule has special significance in a

  case, like this one, where a plaintiff makes defamatory accusations about the defendant, the de-

  fendant responds that the accusations are false and defamatory, and then the plaintiff sues the de-

  fendant for defamation. In these circumstances, the defensive opinion of the defendant that


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  plaintiff’s statements are defamatory is not actionable if the basis for the defendant’s opinion is

  “adequately disclosed.” Hill v. Cosby, 665 F. App’x 169, 176 (3d Cir. 2016).

      Here, Representative Boebert disclosed the basis for her opinion that Mr. Wheeler’s attacks

  were defamatory, stating:

  •   “This man [Wheeler] was told by his source that one of his allegations was made-up before he
      released it,” Compl. ¶ 34.2;

  •   “[H]e [Wheeler] changed his story later,” id.;

  •   American Muckrakers is funded by “Democrat donors and run by two left-wing political oper-
      atives,” id. at ¶ 41.b;

  •   “Mother Jones, a far-left leaning publication called these sexist and disgusting claims,” id. at
      ¶ 46;

  •   “I’ve never had two abortions,” id.;

  •   “I’ve never been an escort,” id.;

  •   “I’ve never been a drug addict as they claim or stripper,” id.;

  •   “Their source told them in a text, and I quote, this story is made up,” id.; and

  •   “[T]hat photo was proven not to be me,” id.

  Faced with this kind of disclosure, it is up to the “listener”—the electorate of Colorado’s third

  congressional district—not a court, to “choose to accept or reject [an opinion] on the basis of an

  independent evaluation of the facts.” Redco, 758 F.2d at 972.

      1.3.   Hyperbole is not actionable defamation—political hyperbole doubly so.

      This conclusion is all the more true in the context of a political campaign. Defamatory meaning

  cannot be assessed in isolation. Rather, “[a]llegedly defamatory language must be examined in the

  context in which it is uttered.” Burns v. McGraw-Hill Broad. Co., 659 P.2d 1351, 1360 (Colo. 1983).

  There is thus no hard-and-fast rule for when a statement is defamatory; “[p]rotecting the



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  important competing interests of free speech and reputation requires a flexible approach anchored

  in the context of each cause of action.” Id. “[A]ll the circumstances surrounding the statement,

  including the medium through which it is disseminated and the audience to whom it is directed,

  should be considered.” Id. In practice, this means that “[e]ven false statements of fact are pro-

  tected from a defamation claim if any reasonable person would recognize the statements as” rhet-

  oric, hyperbole, or parody. Mink v. Knox, 613 F.3d 995, 1005 (10th Cir. 2010).

     Representative Boebert’s statements were made in the context of a heated, partisan, reelection

  campaign, and “[w]hen we read charges and countercharges about a person in the midst of [a po-

  litical] controversy we read them as hyperbolic, as part of the combat, and not as factual allegations

  whose truth we may assume.” Ollman v. Evans, 750 F.2d 970, 1002 (D.C. Cir. 1984) (Bork, J.,

  concurring). This is because when an individual enters the “political arena,” he or she “must ex-

  pect that the debate will sometimes be rough and personal.” Harte-Hanks, 491 U.S. at 687 (quoting

  Judge Bork’s concurrence from Ollman); see also Mink, 613 F.3d at 1005 (adopting Judge Bork’s

  Ollman concurrence). During “an intense political campaign, . . . many cruel and damaging things

  [a]re said about various candidates for major political offices.” Ollman, 750 F.2d at 1005 (Bork, J.,

  concurring). But “[w]e expect people who engage in controversy to accept that kind of statement

  as their lot.” Id. This expectation that speech in the political arena—even speech that would be

  defamatory in other contexts—is protected by the First Amendment is as old as our country’s his-

  tory. The First Amendment was adopted, after all, by colonists whose first major protest of the

  Stamp Act was to burn effigies of British politicians in central Boston. Eugene Volokh, Symbolic

  Expression and the Original Meaning of the First Amendment, 97 Geo. L.J. 1057, 1060-61 (2009).




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      All of Representative Boebert’s statements about Plaintiffs were couched in terms of non-ac-

  tionable campaign rhetoric. Representative Boebert’s use of phrases like “Radical Democrats,”

  “political hack,” “far-left Democrat donors,” “left-wing political operatives,” “conservative

  fighter,” “advancing freedom and conservative values,” and “[p]artisan organizations putting out

  blatantly false and disgusting accusations” place any alleged defamatory statement in its proper

  context: the heated and partisan rhetoric of a political campaign. In other words, when properly

  contextualized, the statements that American Muckrakers and Mr. Wheeler’s attacks were “com-

  pletely baseless” and “completely false” were synonymous with Representative Boebert’s non-

  actionable rhetoric like “left-wing political operatives” and “political hack.” Viewed in this light,

  “we [sh]ould be astonished and highly disapproving” of Plaintiffs’ decision to bring “an action for

  libel” based on statements made in the political arena—statements they elicited with their own

  attacks. See Ollman, 750 F.2d at 1005 (Bork, J., concurring).

      Were the Court to rule otherwise, that defensive campaign rhetoric is actionable, the slippery

  slope is easy to see. Could then-Vice President George H.W. Bush have filed a defamation suit

  against then-Senator Bob Dole when Sen. Dole accused the Vice President with “lying about my

  record” during the 1988 primary campaign?4 Could the candidates in the recent race for an open

  seat on the Wisconsin Supreme Court file defamation suits against each other for saying their




  4
     See Steve Kornacki, Bush and Dole: A political rivalry for the ages. And then that ﬁnal salute., NBC
  News (Dec. 5, 2018, 3:22 PM) (“Then Brokaw asked Dole if he had any message for Bush. ʻYeah,’
  he replied, ʻstop lying about my record.’”), https://www.nbcnews.com/politics/white-
  house/bush-dole-political-rivalry-ages-then-ﬁnal-salute-n944521.

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  opponent is “quick to lie”? 5 Does Senator Ted Cruz have a viable claim against Senator Marco

  Rubio when Rubio said during the 2016 election, “[f]or a number of weeks now, Ted Cruz has just

  been telling lies”?6 Does Tudor Dixon have a claim for Michigan Governor Gretchen Witmer’s

  accusation that “[n]one of what she [Dixon] said is true?” 7 Accusations of falsehoods are, for good

  or ill, a time-worn aspect of American political campaigns. Listeners hear such accusations for what

  they are: rhetoric, not defamation. And if courts were willing to entertain defamation suits arising

  from statements made during a campaign, there would be a never-ending torrent of such suits.

  2. Rep. Boebert’s statements were true and thus not made with reckless disregard.

      The Court can end its analysis here and dismiss the complaint for failure to state a claim, with-

  out considering any factual disputes under F.R.C.P. 56 and Colorado’s Anti-SLAPP statute. Yet if

  the Court decides to consider “supporting and opposing affidavits stating the facts upon which the

  liability or defense is based,” C.R.S. § 13-20-1101(3)(b), Plaintiffs’ suit fails there, too. In short,

  Plaintiffs’ misogynistic slurs were, in fact, baseless. As to Wheeler’s charge that she had abortions

  in 2004 and 2009, Representative Boebert was pregnant with two of her sons at those respective

  times. Boebert Decl. at ¶ 8. During the time Wheeler says she was a paid escort, Representative

  Boebert was a successful small business owner and of course has never engaged in prostitution.



  5
     Henry Redman, Supreme Court candidates accuse each other of lying, extremism in sole debate, Wis-
  consin Examiner (March 21, 2023, 2:27 PM), https://wisconsinexaminer.com/2023/03/21/su-
  preme-court-candidates-accuse-each-other-of-lying-extremism-in-sole-debate/.
  6
     Katie Zezima, Liar, liar: A charged word is now common in the GOP race, The Washington Post
  (Feb. 19, 2016, 5:53 PM), https://www.washingtonpost.com/politics/liar-liar-a-charged-word-is-
  now-common-in-the-gop-race/2016/02/19/96464d34-d63e-11e5-b195-2e29a4e13425_story.html.
  7
      Eric Bradner, 4 takeaways from the Michigan governor debate between Gretchen Whitmer and Tu-
  dor Dixon, CNN (Oct. 25, 2022, 9:10 PM), https://www.cnn.com/2022/10/25/poli-
  tics/whitmer-dixon-debate-michigan-governor-takeaways/index.html.
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  Boebert Decl. at ¶¶ 10-11. And for these reasons and those cited above, Representative Boebert

  made clear her basis for defending herself against Plaintiffs’ attacks. Boebert Decl. at ¶¶ 6-11.

  Plaintiffs are not reasonably likely to show by clear and convincing evidence that Representative

  Boebert’s statements were defamatory or made with actual malice.

  3. Muckrakers has failed to plead special damages pursuant to F.R.C.P. 9(g).

      An essential element of Plaintiffs’ claims for defamation and trade libel is special damages.

  Teilhaber, 791 P.2d at 1167 (commercial disparagement / trade libel); Gordon v. Boyles, 99 P.3d 75,

  79 (Colo. App. 2004) (defamation per quod). “Special damage” means “the loss of something hav-

  ing economic or pecuniary value” and requires an “‘actual temporal loss,’ a loss that is ‘pecuniary’

  or capable of being estimated in money.’” 2 Law of Defamation § 7:2 (2d ed.). Special damages

  must be pleaded with specificity. Gen. Steel Domestic Sales, LLC v. Chumley, 2011 WL 2415167, at

  *2 (D. Colo. June 10, 2011). To make the required showing for a defamation claim, a plaintiff must

  identify “specific monetary losses that [the] plaintiff incur[red] because of the defamatory publica-

  tion.” Stump v. Gates, 777 F. Supp. 808, 826 (D. Colo. 1991), aff’d, 986 F.2d 1429 (10th Cir. 1993).

  Special damages “do not include injuries to a plaintiff’s reputation or feelings which do not result

  in monetary loss.” Id. “To make the required showing,” for a trade-libel claim, “a plaintiff usually

  must identify those persons who refuse to purchase his product because of the disparagement.”

  Teilhaber, 791 P.2d at 1167. If impracticable, however, a plaintiff can specifically plead the lost prof-

  its it has suffered, “using detailed statistical and expert proof.” Id. at 1168. “[S]pecial damages

  must result ‘from conduct of a person other than the defamer or the one defamed and must be

  legally caused by the defamation.’” Stump, 777 F. Supp. at 826 (quoting Lind v. O’Reilly, 636 P.2d

  1319, 1321 (Colo. App. 1981)).


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      General Steel is instructive. There, the Court dismissed a counterclaim for commercial dispar-

  agement for failure to plead special damages. 2011 WL 2415167, at *2-*4. The counterclaim-plain-

  tiff in General Steel alleged that “one or more customers breached their agreement with [counter-

  claim-plaintiff] or chose to forego business associations with [counterclaim-plaintiff] because of

  [counterclaim-defendant’s] disparaging comments, thus causing [counterclaim-plaintiff] to lose

  significant business and be damaged.” Id. at *3 (cleaned up). The counterclaim-plaintiff further

  alleged that, “by disparaging [counterclaim-plaintiff] with false statements concerning its business,

  [counterclaim-defendant] has made sales it would not otherwise have made and caused harm to

  [counterclaim-plaintiff’s] reputation.” Id. (cleaned up). Finally, the counterclaim-plaintiff alleged

  “[u]pon information and belief, [counterclaim-plaintiff] has lost sales and the attendant profits as

  a direct and proximate result of [counterclaim-defendant’s] conduct as described above.” Id.

  (cleaned up). The Court ruled that these allegations were insufficient under Rule 12(b)(6) and 9(g)

  because the counterclaim-plaintiff had not “identified customers lost on account of the business

  disparagement,” “specifically pled the lost profits it has suffered,” or pleaded “evidence of cau-

  sation.” Id.

      General Steel is on all fours here. Plaintiffs’ complaint does not allege specific donors it lost as

  a result of Rep. Boebert’s defense of herself. And while Plaintiffs generally allege that Muckrak-

  ers’ 8 donations decreased after Representative Boebert’s statements, Compl. ¶¶ 74-82, Plaintiffs

  make no specific allegations as to causation or produce the “detailed statistical and expert” analy-

  sis required by Teilhaber to show that any decrease in revenue was caused by Representative


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      Plaintiﬀs make almost no allegations regarding speciﬁc damages suﬀered by Mr. Wheeler. The
  defamation and trade libel claim asserted by him must be dismissed for failure to plead special dam-
  ages.

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  Boebert’s response. At most, Plaintiffs’ Complaint cites general dollar figures regarding revenue,

  but fails to plead how any specific loss of revenue occurred because of Representative Boebert’s

  comments as opposed to, for example, donors refusing to support Mr. Wheeler’s crude publica-

  tions. Plaintiffs’ defamation and trade-libel claims should be dismissed for this additional reason.

  4. Muckrakers’s claims of civil conspiracy, commercial disparagement, and trade libel
     cannot be premised on First Amendment protected speech.

      Plaintiffs’ claims for civil conspiracy, commercial disparagement, and trade libel must be dis-

  missed for the same reasons above: they fail to allege any actionable defamatory statements. The

  First Amendment shield against a claim of defamation arising from statements made in the course

  of an election apply equally to non-defamation torts, where the underlying misconduct is some

  First-Amendment protected speech or activity. E.g., Jefferson County School District No. R-1 v.

  Moody’s Investor’s Servs., Inc., 175 F.3d 848, 857-58 (10th Cir. 1999) (affirming judgment on inten-

  tional interference with contract and with prospective business relations claims as barred by the

  First Amendment); Teilhaber, 791 P.2d at 1167 (holding that the constitutional protections afforded

  a defendant in a defamation action are applicable to a defendant in a product disparagement ac-

  tion). 9 As the Tenth Circuit explained in Jefferson County School District, “the chilling effect on


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      See also Hustler Mag., Inc. v. Falwell, 485 U.S. 46, 56 (1988)(“We conclude that public ﬁgures
  and public oﬃcials may not recover for the tort of intentional inﬂiction of emotional distress by
  reason of publications such as the one here at issue without showing in addition that the publication
  contains a false statement of fact which was made with “actual malice.”); TMJ Implants, Inc. v.
  Aetna, Inc., 498 F.3d 1175, 1201 (10th Cir. 2007) (“If the alleged impropriety, however, is an alleg-
  edly defamatory statement, then the [tortious] interference claim must fail if the statement is not
  an actionable defamation” under NYT v. Sullivan); X-Tra Art, Inc. v. Consumer Union of U.S., 48
  F.3d 1230, at *2 (9th Cir. 1995) (unpublished) (“This zone of protection is created by rules that
  limit media defendants’ liability for defamatory publications. These rules apply not only to defa-
  mation actions, but to ʻall claims whose gravamen is the alleged injurious falsehood of a state-
  ment.’”); SCO Grp., Inc. v. Novell, Inc., 692 F. Supp. 2d 1287, 1290 (D. Utah 2010) (“The Tenth
  Circuit also rejected claims for intentional interference with contract and for intentional interfer-
  ence with prospective business relations on First Amendment grounds, noting that lower courts
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  protected speech that might ensue if damages could be recovered” for non-defamation torts prem-

  ised on protected speech would be similar to defamation claims. 175 F.3d at 857. Courts thus look

  behind the label of the cause of action to determine whether the First Amendment applies. -Tra

  Art, Inc. v. Consumer Union of U.S., 48 F.3d 1230, at *2 (9th Cir. 1995) (unpublished). Here, Plain-

  tiffs’ claims for trade libel, intentional interference with contract, intentional interference with

  prospective business advantage, and civil conspiracy are each premised on Representative Boe-

  bert’s statements responding to Mr. Wheeler’s attacks. Compl. ¶¶ 90, 98, 103, 106. They are

  therefore subject to dismissal for the same reasons as the defamation claim.

  5. Muckrakers’s First Amendment claim fails under Buentello v. Boebert, 545 F.Supp.3d
     912 (D. Colo. 2021).

     Finally, Muckrakers and Wheeler’s claim that Rep. Boebert has violated their First Amend-

  ment rights because she allegedly “holds power over media organizations” fails under the highly

  similar decision in Buentello v. Boebert, 545 F.Supp.3d 912 (D. Colo. 2021). There, the Court held

  that a congresswoman (Representative Boebert) could not be liable under the First Amendment as

  a matter of law because congressional representatives, unlike executive branch officials, have no




  had rejected “a variety of tort claims based on speech protected by the First Amendment.”); Hen-
  derson v. Times Mirror Co., 669 F. Supp. 356, 362 (D. Colo. 1987), aﬀ’d, 876 F.2d 108 (10th Cir.
  1989) (dismissing intentional interference claim under NYT v. Sullivan); Eddy’s Toyota of Wichita,
  Inc. v. Kmart Corp., 945 F.Supp. 220, 224 (D. Kan. 1996) (concluding that letters that constituted
  expressions of opinion protected by the First Amendment could not form the basis for plaintiﬀ's
  tortious interference with contact claim); Cousins v. Goodier, 283 A.3d 1140 (Del. 2022) (aﬃrming
  judgment for defendant who had been sued for, inter alia, tortious interference and defamation,
  because plaintiﬀ had allegedly lost his law ﬁrm partnership and been reputationally damaged due
  to defendant’s email to law ﬁrm complaining that plaintiﬀ was privately litigating a “shockingly
  racist” lawsuit; Delaware Supreme Court held that email was protected by the First Amendment
  as regarding a matter of public concern, not containing any false statement of fact, and not implying
  any false statement of fact).

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  individual power to affect the constitutional rights of others and thus cannot be a “state actor”

  under West v. Atkins, 487 U.S. 42, 49 (1988):

         Put simply, legislators legislate. Their state-created powers are to propose legisla-
         tion and to vote—and little else. . . . The First Amendment states that ‘Congress
         shall make no law . . . abridging the freedom of speech . . .’ U.S. Const. amend. I.
         Congress, not its individual members, commands the federal government, and it is
         that body that the First Amendment sought to constrain. Individual legislators do
         not have the constitutional power to either make law or abridge speech, and thus
         their individual actions are not within the First Amendment’s coverage.

  Id. at 919. Under Buentello, Representative Boebert’s statements during a political campaign can-

  not give rise to First Amendment liability as a matter of law. Indeed, Plaintiffs cite no official act

  of Representative Boebert that could remotely give rise to a First Amendment violation. This

  claim must be dismissed.

                                            CONCLUSION

     Plaintiffs’ complaint reflects an ill-advised attempt to regulate the political arena through a

  strategic lawsuit. Because the First Amendment shields speech made in the “highly charged at-

  mosphere” of “an intense political campaign” from judicial scrutiny, Ollman, 750 F.2d at 1005,

  Plaintiffs’ Complaint fails as a matter of law and must be dismissed with prejudice.

                                                  DATED: August 22, 2023.
                                                  Respectfully submitted,
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